                Case 1:22-cr-00070-RDM Document 27-1 Filed 03/14/22 Page 1 of 2
                            U.S. District Court [LIVE]
                         Western District of Texas (Del Rio)
            CRIMINAL DOCKET FOR CASE #: 2:21-mj-02264-CW All Defendants


Case title: USA v. Denney                                  Date Filed: 12/14/2021


Assigned to: Judge Collis White

Defendant (1)
Lucas Denney                                 represented by Juan Neri , III
                                                            Office of Federal Public Defender
                                                            Del Rio
                                                            2205 Veterans Blvd., Suite A-2
                                                            Del Rio, TX 78840-3141
                                                            (830) 703-2040
                                                            Fax: (830) 703-2047
                                                            Email: juan_neri@fd.org
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED
                                                            Designation: Public Defender or
                                                            Community Defender Appointment

Pending Counts                                             Disposition
None

Highest Offense Level (Opening)
None

Terminated Counts                                          Disposition
None

Highest Offense Level (Terminated)
None

Complaints                                                 Disposition
18 USC 111 and (b) Assaulting, Resisting,
or Impeding Certain Officers with a Deadly
or Dangerous weapong



Plaintiff
USA                                          represented by James T. Ward
                                                            U.S. Attorney's Office
                                                            111 E. Broadway, Room A300
                                                            Del Rio, TX 78840
                                                            830-703-2025
             Case 1:22-cr-00070-RDM Document 27-1 Filed 03/14/22 Page 2 of 2
                                                     Email: james.ward2@usdoj.gov
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED


Date Filed   # Docket Text
12/14/2021      Attorney James T. Ward for USA added (mgc) (Entered: 12/14/2021)
12/14/2021   1 Arrest (Rule 5/Rule 32.1) of Lucas Denney (mgc) (Entered: 12/14/2021)
12/14/2021   2 Proceedings held before Judge Collis White:VIDEO Initial Appearance in Rule 5(c)(3)/
               Rule 32.1 Proceedings as to Lucas Denney held on 12/14/2021 (Court Reporter FTR
               GOLD- MG CIENEGA.) (mgc) (Entered: 12/17/2021)
12/14/2021   3 ORDER APPOINTING FEDERAL PUBLIC DEFENDER as to Lucas Denney Juan Neri,
               III for Lucas Denney appointed.. Signed by Judge Collis White. (mgc) (Entered:
               12/17/2021)
12/14/2021   4 ORDER SETTING as to Lucas Denney, ( Detention Hearing AND Removal Hearing set for
               12/17/2021 02:00 PM before Judge Collis White,). Signed by Judge Collis White. (mgc)
               (Entered: 12/17/2021)
12/17/2021   5 Proceedings held before Judge Collis White:Removal Hearing AND Detention Hearing as
               to Lucas Denney held on 12/17/2021 Ordered Removed; Detention Ordered. (Court
               Reporter FTR GOLD- MG CIENEGA.) (mgc) (Entered: 12/17/2021)
12/17/2021      ORAL MOTION to Detain Defendant without Bond by USA as to Lucas Denney. (mgc)
                (Entered: 12/17/2021)
12/17/2021      ORAL MOTION for Bond by Lucas Denney. (mgc) (Entered: 12/17/2021)
12/17/2021   7 ORDER OF REMOVAL as to Lucas Denney RETURNED EXECUTED BY USMS ON
               12/17/2021. Signed by Judge Collis White. (ss) (Entered: 12/20/2021)
12/18/2021   6 ORDER GRANTING ORAL Motion to Detain Defendant without Bond. Bond set to NO
               BOND as to Lucas Denney (1); DENYING ORAL Motion for Bond as to Lucas Denney
               (1). Signed by Judge Collis White. (ss) (Main Document 6 replaced on 12/20/2021) (ss).
               (Entered: 12/20/2021)



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